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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

DEBORAH K. MURPHY-DAVIDSON.
an individual,

                        Plaintiff,

v.                                                                  Case   No.: l4-cv-00779

KENNETH J. STOLL,                                                   Hon. Ray Kent
an individual, and                                                  Magistrate Judge
COMFORCARE SENIOR SERVICES -
MID MICHIGAN, a limited liability company,

                        Defendants.

            DEFENDANTS' MOTIONS FOR NEW TRIAL OR REMITTITUR
                    OR JUDGMENT AS A MATTER OF LAW

       Defendants' Kenneth           J. Stoll ("Mr. Stoll) and ComForcare Senior          Services     -   Mid
Michigan (Comforcare) move the Court for a new trial or remittitur or judgment as a matter of
law, based upon the following:


       1. On 1 May 2016, a jury            awarded plaintiff One-Hundred-Thirty-Thousand Dollars
            ($130,000) against Kenneth          J. Stoll and Comforcare for Mr. Stoll's                alleged

            intentional infliction of emotional distress.
       2.   The   jury did not award plaintiff any damages for the alleged assault or stalking. A
            judgment was entered on2May 2016.

       3. Mr. Stoll and Comforcare         move the Courl for a new trial under Rule 59 of the Federal

            Rules of Civil Procedure, for the reasons more fully set forth in the attached brief.
       4.   In the alternative, Mr. Stoll and Comforcare move the Court to alternatively remit the
            amount of damages awarded by the jury, for the reasons more fully set forth in the
            attached brief.

       5.   Mr. Stoll and Comforcare renew their motion for a judgment            as a matter   of law under
            Fed. R. Civ. P. 50(b), for the reasons more     fully   set forth in the attached brief.
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          WHERFORE, defendants move the Court to grant a new trial, remit the award   of
       $130,000 or enter a judgment in their favor as a matter of law.


                                         Respectfully submitted,


                                         /s/ Thomas A. Ginster

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